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 UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
---------------------------------------------------x
UNITED STATES OF AMERICA                               17 Cr. 155 (DLI)

        - against -

ROBERT PISANI,
                                    Defendant.
---------------------------------------------------x



                      ROBERT PISANI’S SENTENCING MEMORANDUM




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                                            Introduction

       The Court is scheduled to sentence Robert Pisani on June 21, 2018. For the reasons set

forth below, Pisani submits that a sentence below the applicable advisory range under the United

States Sentencing Guidelines (the “Guidelines”) of 15-21 months imprisonment is warranted.

       In the sections below, we discuss the following: (a) the offense of conviction; (b) the

terms of the plea agreement entered between the parties on November 17, 2017 (the “Plea

Agreement”); (c) the Presentence Investigation Report, dated May 1, 2018, (“PSR”); (d) the

government’s sentencing letter to the Court, dated June 7, 2018 (“Gov. Sent. Ltr.”); and (e) the

factors set forth in 18 U.S.C. § 3553(a).

       Taking all of the above into consideration—including, in particular, Pisani’s post-offense

rehabilitation, which is discussed below—it is respectfully submitted that a sentence below the

advisory range is merited.

A. The Offense of Conviction

       Pisani pleaded guilty to a superseding information in which he is charged with

participating in an enterprise, during the period from January 1, 2011 through March 17, 2013,

through his involvement in a conspiracy to collect an unlawful debt incurred in connection with

illegal gambling activity in violation of 18 U.S.C. § 1962(d) (“RICO”). Pisani is remorseful for

his conduct and accepts responsibility for having engaged in illegal activity. Without

diminishing the seriousness of the offense or the significance of Pisani’s conduct, it is, however,

necessary to address certain inaccuracies in the government’s letter and the PSR.

       As an initial matter, it is noted that the offense of conviction centers on efforts to collect a

single debt. United States v. Giovanelli, 945 F2d 479, 490 (2d Cir. 1991) (holding that RICO

conviction can be sustained by proof of collection of single unlawful debt). As described in the




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government’s letter, in or about 2012, an individual identified as John Doe #19, incurred a

gambling debt to Pisani. Gov. Sent. Ltr. at 1; see also, PSR ¶ 55. As also reflected in the PSR,

John Doe #19 and Pisani did not agree on the amount of the debt. PSR ¶ 55. Not contained in

the PSR, however, is that, on October 29, 2012, Superstorm Sandy hit the Broad Channel and

Howard Beach sections of Queens, where Pisani lived and worked, with a brutal force that

destroyed Pisani’s home and businesses, and that, thereafter, Pisani made a conscious decision to

mend his ways. Consequently, as indicated in both the PSR and the government’s letter, Pisani

made no efforts to collect the debt for a considerable period of time. PSR ¶ 55; Gov. Sent. Ltr. at

1-2.

         The government and Probation, however, inaccurately conclude that Pisani “waited over

a year after John Doe #19 incurred the debt, when [a co-defendant] was released from federal

prison, to have [the co-defendant] collect the money owed.” Gov. Sent. Ltr. at 5; PSR ¶ 55. This

is erroneous. Indeed, though the time period of Pisani’s conduct as charged in the superseding

information runs from January 1, 2011 through March 17, 2013, according to the government,

the co-defendant was not released from prison until April 2013. Gov. Sent. Ltr. at 1.

         Moreover, though the government asserts that an individual referred to as Associate-1

“approached John Doe #19 and told him that he owed money to [Pisani] and [the co-defendant],”

Gov. Sent. Ltr. at 2 (citing PSR ¶ 55), the government does not claim that Pisani had any

knowledge that Associate-1 approached John Doe #19. Rather, the government states that “John

Doe #19 paid approximately $6,000 to [the co-defendant] and his associates to repay the illegal

debt owed to defendant.” Id. Tellingly, the government does not claim that Pisani received any

money.




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       Furthermore, though the government and Probation seek to taint Pisani with allegations

that John Doe #19 was subject to threats of violence in connection with the debt, as reflected in

his objections to the PSR, Pisani has no knowledge that any threats of violence were made

against John Doe #19. Letter from Seth Ginsberg, Esq. to U.S. Probation Officer Jennifer G.

Fisher, dated May 15, 2018 (“PSR Obj. Ltr.”), at 3. Moreover—despite seeking to paint Pisani

as a violent individual—the government has expressly stated that it “agree[s] that [Pisani] was

not aware of the threats to John Doe #19 . . . .” Gov. Sent. Ltr. at 4; see also Gov. Sent. Ltr. at 2

(citing PSR ¶ 55) (acknowledging that there is no evidence that Pisani was aware that John Doe

#19 had purportedly been threatened with a bat). Furthermore, the government expressly

indicates “that [the co-defendant] and Associate-1—[not Pisani]—were the primary actors in the

conspiracy to collect the unlawful debt . . . .” Gov. Sent. Ltr. at n. 2.

       None of this is to say that Pisani is not responsible for his participation in an enterprise

through his involvement in a conspiracy to collect an unlawful debt incurred in connection with

illegal gambling. Pisani stands by his allocution at the time of his plea and accepts responsibility

for his conduct. Consistent with ensuring that the Court has an accurate understanding of the

scope of his conduct, however, Pisani considers it important that the Court is aware that his

active involvement ceased in the aftermath of Superstorm Sandy; he did not employ nor was he

aware that others employed threats of violence in connection with the collection of the debt at

issue; and he did not receive any of the $6,000.00 that was apparently collected.

B. The Plea Agreement

       As detailed in the Plea Agreement, the parties agree that Pisani is in Criminal History

Category (“CHC”) I and that, under the Guidelines, his offense level is 14, which is calculated as

follows:




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       Base Offense Level (§ 2E1.1(a)(1)): 19

       Mitigating Role (§ 3B1.2(b)):           -2

       Acceptance of Responsibility:           -3

       Total Offense Level:                    14

       Offense level 14 in CHC I has an advisory range of 15-21 months imprisonment. Plea

Agreement at 3. Pursuant to the Plea Agreement, Pisani also agreed to forfeit $50,000.00, which

has been paid in full.1

C. The PSR

       In contrast to the calculations in the Plea Agreement, the Probation Department has

concluded that Pisani has a sentencing range of 24-30 months imprisonment. PSR ¶¶ 170-79,

224. Probation’s calculation is based upon two findings that are at odds with the Plea

Agreement: (1) Probation has concluded that Pisani is in CHC II, not CHC I as determined by

the parties; and (2) Probation takes the position that Pisani is not entitled to a two-level minor

role reduction. It is respectfully submitted that the Plea Agreement is correct on both issues.

       First, Probation claims that Pisani is in CHC II. Probation’s determination is based on its

conclusion that conduct charged in the underlying indictment alleging that, in 2005, Pisani was

involved in an illegal sports betting operation, constitutes relevant conduct under the Guidelines.

PSR ¶ 182. Thus, Probation maintains that Pisani’s 1999 conviction for a Class A misdemeanor,

for which he was sentenced to a conditional discharge and restitution, falls within the applicable

ten-year period for the calculation of criminal history and places Pisani in CHC II. PSR ¶ 182.




1
 In accordance with the terms of the Plea Agreement, on June 13, 2018, a check in the amount
of $50,000.00 was sent to the U.S. Attorney’s Office, via FedEx for delivery on June 14, 2018.


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       The only authority that Probation cites for its determination regarding relevant conduct is

U.S.S.G. § 4A1.2, n. 8, which indicates that the term “commencement of the offense” as used in

§ 4A1.2(e)(2) includes relevant conduct. PSR ¶ 182. The reference to this application note,

however, does not resolve the question as to whether conduct charged in the underlying

indictment to which Pisani did not plead guilty constitutes relevant conduct.

       For its part, the government agrees with Pisani that the alleged 2005 gambling conduct

does not constitute relevant conduct. Letter from A.U.S.A. Lindsay K. Gerdes and A.U.S.A.

Keith D. Edelman to U.S. Probation Officer Jennifer G. Fisher, dated May 15, 2018 (“Gov. PSR

Obj. Ltr.”) at 3, 5 (“The government agrees with the defendant that this conviction does not

affect the defendant’s Criminal History Category because it occurred more than 10 years prior to

the crime of conviction or commission of relevant conduct.”); Gov. Sent. Ltr. at 5 (“Because the

government asserts that the defendant’s other criminal activity does not constitute relevant

conduct, the government agrees with the defendant that he is in Criminal History Category I,

which yields a Guidelines range of 15-21 months’ imprisonment.”).

       Given the absence of any rationale for Probation’s determination, it is respectfully

submitted that Pisani is in CHC I, as agreed by the parties and reflected in the Plea Agreement,

with a corresponding advisory range of 15-21 months imprisonment. Should the Court,

however, determine that Pisani is in CHC II with a corresponding advisory range of 18-24

months imprisonment, for the reasons set forth below in the discussion of the § 3553(a) factors, it

is respectfully submitted that a sentence below the low-end of the range in the Plea Agreement

would still be warranted.

       Second, Probation challenges the parties’ determination that Pisani’s minor role in the

offense warrants a two-level reduction. PSR ¶ 78. This determination is based on Probation’s




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conclusory assertions that Pisani “played an integral role in the racketeering conspiracy . . .” and

that “his involvement was essential to the success of the illegal gambling operation . . . .” PSR ¶

78. As an initial matter, apart from the fact that the government plainly reached a different

conclusion, Probation offers no support for its assertions.

         Section 3B1.2 of the Guidelines provides for a four-level decrease if the defendant’s role

in the offense was “minimal” and a two-level decrease if the defendant’s role was “minor.”

Alternatively, the defendant is entitled to a three-level decrease if his role falls in between

“minimal” and “minor.” A minimal participant is “plainly among the least culpable of those

involved in the conduct of a group. Under this provision, the defendant’s lack of knowledge or

understanding of the scope and structure of the enterprise and of the activities of others is

indicative of a role as minimal participant.” U.S.S.G. § 3B1.2, n. 4. A minor participant is

someone who “is less culpable than most other participants, but whose role could not be

described as minimal.” Id., n. 5.

         “A sentencing court’s assessment of the defendant’s role in criminal activity is highly

fact-specific and depends upon the nature of the defendant’s relationship to other participants,

the importance of the defendant’s actions to the success of the venture, and the defendant’s

awareness of the nature and scope of the criminal enterprise.” United States v. Carpenter, 252

F.3d 230, 234 (2d Cir. 2001) (quoting United States v. Shonubi, 998 F.2d 84, 90 (2d Cir. 1993)

(internal quotation marks omitted)); see also United States v. Garcia, 920 F.2d 153, 155 (2d Cir.

1990).

         Thus, a defendant is considered a “minor participant,” and is entitled to a two-level

reduction, where his role is not important or critical to the success of the overall conspiracy. A

defendant also plays a minor role where he is “essentially fungible,” United States v. Fernandez,




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312 F. Supp. 2d 522, 525 (S.D.N.Y. 2004), or is “replaceable” and is not a regular member of

any organization. United States v. Sanchez, 925 F. Supp. 1004, 1013 (S.D.N.Y. 1996); see also

United States v. Ruiz, 246 F. Supp. 2d 263, 272 (S.D.N.Y. 2002) (“Virtually anyone could have

been inserted . . . without threatening the success of the enterprise.”). In addition, “to be eligible

for a reduction, the defendant’s conduct must be ‘minor’ or ‘minimal’ as compared to the

average participant in such a crime.” United States v. Rahman, 189 F.3d 88, 159 (2d Cir. 1999)

(citing United States v. Ajmal, 67 F.3d 12, 18 (2d Cir. 1995)); see also U.S.S.G. §3B1.2, n. 3(A).

       As set forth in Pisani’s objections to the PSR, Probation is incorrect in its determination

regarding Pisani’s entitlement to a minor role reduction. As discussed above, Pisani pleaded

guilty to a RICO violation based upon a conspiracy to collect a single debt during the relatively

brief period spanning from January 1, 2011 through March 17, 2013. Moreover, although the

debt at issue was initially owed to Pisani, he was largely uninvolved in the efforts to collect it

and did not receive any of the money that was ultimately collected.

       In addition, the PSR itself amply illustrates Pisani’s limited—i.e., minor—role. Indeed,

in the first 166 paragraphs of the PSR, which relate to the overall RICO conspiracy charged in

the underlying indictment and the alleged involvement of Pisani and his co-defendants, Pisani is

mentioned in a mere 13 paragraphs, some of which mention Pisani only in passing. Notably, in

the course of those 166 paragraphs, the vast majority of the numerous criminal schemes detailed

are ones in which the government does not allege that Pisani had any involvement whatsoever.

It is, therefore, difficult to understand how Probation—in contrast to the government prosecutors

who investigated and brought this case—can determine that Pisani is not entitled to a minor role

adjustment.




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       Furthermore, unlike Pisani’s co-defendants, who, upon information and belief, pleaded

guilty to the underlying indictment, which charges conduct spanning from 1998 up to and

including 2017, Pisani pleaded guilty to a one-count superseding information spanning the

comparatively brief period from January 1, 2011 through March 17, 2013, i.e., just barely more

than two years. The decision of the government to charge Pisani with conduct during a limited

period of time is indicative of the reason for the government’s conclusion that Pisani had merely

a minor role in the overall conspiracy.

       Moreover, though Probation claims that Pisani played an important role in an illegal

gambling operation, Pisani did not plead guilty to running an illegal gambling operation. He

pleaded guilty to conspiring to collect an illegal gambling debt. Thus, even if true, the

conclusion that he was “essential to the success of the illegal gambling operation” is

inconsequential. Furthermore, the underlying indictment charges Pisani with involvement in just

one of five gambling operations allegedly operated by the RICO enterprise. Consequently, it

does not follow that his involvement in a single gambling operation would require a finding that

he played a significant role in the overall RICO conspiracy.

       Thus, given the limited scope of Pisani’s conduct—particularly as measured against the

scope of the overall enterprise charged in the underlying indictment—Pisani plainly played a

minor role. Indeed, the government charged an enterprise comprised of an elaborate

management structure, including upper management, middle management, and official members.

Pisani, however, is alleged to be a mere associate of the enterprise without any official role; he

was, therefore, plainly a fungible element in the overall enterprise. Thus, apart from the limited

scope of the offense of conviction, Pisani’s role in the charged enterprise is clearly far more




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limited than that of the average participant in a RICO offense of the magnitude charged in the

underlying indictment.

       Furthermore, Pisani’s involvement was arguably less significant than three co-defendants

whom Probation has determined are entitled to minimal role reductions, including, astoundingly,

one who—according to Probation—obstructed justice, committed perjury, and engaged in

loansharking. PSR ¶¶ 154-55. More specifically, according to Probation, the individual

“obstructed justice and committed perjury during the instant investigation . . .” in that, among

other things, in testimony before a grand jury, he lied under oath regarding the loansharking

conduct to which he pleaded guilty in the instant matter. PSR ¶ 155. In light of Probation’s

support of a minimal role adjustment for this individual, there does not appear to be any

justification for its determination that Pisani does not merit a minor role adjustment.

       Thus, Pisani respectfully submits that he should receive a two-level reduction for his

minor role in the offense. Consequently, as indicated in the Plea Agreement, Pisani has a total

offense level of 14, which, in CHC I, has an advisory range of 15-21 months imprisonment.

D. The Government’s Sentencing Letter

       As discussed above, the parties agree that Pisani has an offense level of 14 and falls in

CHC I, which has an advisory range of 15-21 months imprisonment. In its sentencing

submission, however, the government requests that the Court sentence Pisani at the upper end of

the advisory range. The government’s argument is based almost entirely on conduct to which

Pisani did not plead guilty and conduct with which he is not charged. For the reasons discussed

below, we submit that the government’s argument is not compelling.

       With respect to the allegations concerning conduct charged in the underlying indictment

to which Pisani did not plead guilty, as discussed above, the government made a considered




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decision to charge Pisani in a one-count superseding information that does not include the

allegations on which it now relies. In our view, that Pisani was unwilling to plead to the

underlying indictment and that the government chose to charge him in the superseding

information rather than try him on the indictment speaks volumes. Thus, though we appreciate

that the Court must have as complete a picture as possible when sentencing a defendant, we

submit that the government’s reliance on conduct that it opted to forego prosecuting runs counter

to the spirit of the Plea Agreement.

       In addition to conduct charged in the underlying indictment to which Pisani did not plead

guilty, the government also makes claims regarding the sale of property located at 164-04 86th

Street, Howard Beach, New York. Gov. Sent. Ltr. at 2, 3-4. This transaction was the subject of

an extensive grand jury investigation that did not result in any charges being brought against any

party involved in the transaction. Moreover, upon information and belief, the government’s

claims in connection with this transaction are based on little more than the word of a cooperating

witness without personal knowledge of the facts.

       The government’s remaining claims regarding Pisani’s history and characteristics are

addressed below in the discussion of the § 3553(a) factors. 2

E. The 18 U.S.C. § 3553(a) Factors

       The factors set forth in 18 U.S.C. § 3553(a) warrant a sentence below the advisory

Guidelines range of 15-21 months. As discussed below and elaborated in detail in the letters

submitted from Pisani’s family and friends, Rob Pisani is an exceptionally giving individual to

family, friends, and the community at large. Moreover, well before his arrest in the instant



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 Pisani has not addressed every issue in dispute identified in the government’s submission but is
prepared to discuss any issues that may be of concern to the Court.


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matter, Pisani had ceased his involvement in the charged criminal conduct as the result of a

catastrophic loss that sparked a life-altering change in him.

       It is well established that, in addition to the Guidelines, the Court must consider the

factors enumerated in 18 U.S.C. § 3553(a):

       The Court shall impose a sentence sufficient, but not greater than necessary, . . .
       [and] shall consider—

       1. The nature and circumstances of the offense and the history and
          characteristics of the defendant;

       2. The need for the sentence imposed—

             a.    To reflect the seriousness of the offense, to promote respect for
                   the law, and to provide just punishment for the offense;

             b.    To afford adequate deterrence to criminal conduct;

             c.    To protect the public from further crimes of the defendant;

             d.    To provide the defendant with needed educational or vocational
                   training, medical care, or other correctional treatment in the
                   most effective manner;

       3. The kinds of sentences available;

       4. The kinds of sentence and the sentencing range established . . . [by the
          Sentencing Guidelines];

       5. Any pertinent policy statement . . .

       6. The need to avoid unwarranted sentence disparities among defendants
          with similar records who have been found guilty of similar conduct;
          and

       7. The need to provide restitution to any victims of the offense.

18 U.S.C. § 3553(a) (some minor alterations not noted).

       Though the Guidelines are an important factor in the sentencing analysis, they are only

advisory, and the Court is generally free to impose a non-Guidelines sentence. United States v.




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Gall, 128 S. Ct. 586 (2007); United States v. Booker, 543 U.S. 220 (2005). The Court’s

authority in this regard is consistent with the fundamental principle that a sentencing court

should consider the full scope of a person’s life in an effort to sentence the individual as opposed

to the crime:

       “It has been uniform and constant in the federal judicial tradition for the sentencing
       judge to consider every convicted person as an individual and every case as a
       unique study in the human failings that sometimes mitigate, sometimes magnify,
       the crime and the punishment to ensue.” Koon v. United States, 518 U.S. 81, 113 .
       . . (1996). Underlying this tradition is the principle that “the punishment should fit
       the offender and not merely the crime.” Williams [v. New York], 337 U.S. [241,]
       247 [(1949)] . . . .

Pepper v. United States, 562 U.S. 476, 487-88, 131 S. Ct. 1229, 1239-40 (2011) (holding that

post-sentencing rehabilitation is an acceptable basis for non-Guidelines sentence on resentencing

after appeal).

       As we demonstrate in the sections that follow, in our view, a non-Guidelines sentence is

sufficient but not greater than necessary to achieve the goals enumerated in 18 U.S.C. § 3553(a).

       1. The Nature and Circumstances of the Offense and Pisani’s History and
          Characteristics Support a Non-Guidelines Sentence.

       The details regarding the nature and circumstances of the offense set forth above are not

repeated here. For present purposes, we highlight for the Court that Pisani has accepted

responsibility for having conspired during the limited period from January 1, 2011 through

March 17, 2013 to collect a single unlawful debt incurred in connection with illegal sports

betting. According to the PSR, a total of approximately $6,000.00 was ultimately collected,

though not by Pisani. In addition, although the PSR indicates that a co-conspirator used threats




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of violence to collect the debt, as the government has agreed, there is no evidence that Pisani had

any knowledge that any threats were made.

       The above notwithstanding, Pisani does not seek to minimize the seriousness of his

conduct. Indeed, Pisani accepts responsibility for having engaged in a serious violation of the

law and is deeply remorseful for having done so. His regret is, perhaps, best evidenced by the

fact that his conduct ceased in early 2013, some four years prior to his arrest and more than five

years prior to the date of sentencing. In the ensuing years, Pisani’s character of kindness,

support of others, and his devotion to his community have flourished.

       As reflected in the letters of his family and friends who know him best, Pisani is a selfless

individual who has time and again extended himself to help his family, friends, and community.

Notably, the letters come from a wide variety of individuals, including numerous former

employees, local firefighters, a City Councilman, a New York City Police Department Detective,

nurses, doctors, teachers, and many others. The life experience of these individuals varies vastly,

but their experience of Pisani is consistent—he is a caring, devoted friend, who consistently

extends himself when people are in need, in both large ways and small.

       It is uniformly agreed that Pisani is devoted to his wife and two young children. He is an

actively involved father, attending school performances, coaching sports teams, and generally

engaging with his children and providing positive guidance. He is also deeply committed to his

wife, Jamie. His love and connection to Jamie is evident to all who encounter them, not least of

all, his wife’s parents, both of whom wrote compellingly to the Court regarding their love for,

and support of, the son-in-law they think of as a son.

       Pisani is also deeply connected to his mother and brother, both of whom live with him

and his wife and children. Given his early childhood experiences, which are detailed with stark




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sincerity in the letter of his brother, Alex, Pisani’s familial connections are a testament to his

caring and loving spirit. Indeed, despite being the younger brother, when the family lost Pisani’s

father when Pisani was just 19, Pisani rose to the occasion to lead the family—something that

continues to this day.

       Numerous former and current employees and their families have also shared with the

Court their experiences of Pisani’s generous nature, positive influence, strong work ethic, and

willingness to assist in times of need. It is clear from their letters that Pisani is far more than an

employer for these people—he is a teacher, a role model, an older brother, a friend, and a

confidant on whom they know they can depend. Indeed, many of his former employees credit

Pisani with their accomplishments in their own businesses and professional endeavors.

       Pisani’s nature was perhaps best displayed in the aftermath of Superstorm Sandy, which,

on October 29, 2012, hit the Howard Beach and Broad Channel neighborhoods of Queens with

crushing force that destroyed Pisani’s businesses and his home. As reflected in numerous letters

to the Court, Pisani’s life was devastated following the storm. Pisani, however, true to his

nature, extended himself time and again to aid his community. He provided food and other

goods from his stores to community members in need, including first responders and FEMA

personnel; he engaged in fundraising efforts to assist in the rebuilding of the community; and he

was simply there for many people who needed him. He did all of these things while being

displaced from his own home and sifting through the wreckage in his businesses.

       Though admirable—as made clear in the letters to the Court—Pisani’s readiness to assist

in the aftermath of the storm is in keeping with the manner in which he has conducted himself

throughout his life. Whether someone has had a death in the family, a family member who is ill,




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the birth of a child, or been in need of employment, Pisani has consistently stepped up, not just

for his family and friends, but for the entire community.

       In addition, apart from his noble efforts to assist his community in a time of tragedy,

following Superstorm Sandy, as a husband with two young children, Pisani made a conscious

decision to cease his illegal conduct and to focus on his family and his businesses. Tellingly,

consistent with Pisani’s change of course following the storm, during the investigation of his

case, “Pisani was not captured on any consensual recordings or wiretap recordings,” which were

made largely during the period from 2013 through the date of the indictment. PSR Obj. Ltr. at 1.

Moreover, though the government opposes Pisani’s request to have the PSR amended to include

the fact that Pisani was not captured on any recordings, the government does not dispute the

accuracy of the statement. Gov. PSR Obj. Ltr. at 2.

       Thus, as the letters from Pisani’s family and friends demonstrate, though he has made

mistakes, he is a man with strong redeeming qualities that make him a valuable member of

society. Consequently, while the government may choose to depict a monolithic character

defined by his mistakes, there is much more to Rob Pisani and, when viewed in totality, we

submit that his positive qualities and contributions far outweigh the negative. Accordingly, in

our view, Pisani’s history and characteristics support a non-Guidelines sentence.

       2. Additional Factors Under 18 U.S.C. § 3553(a) Support a Non-Guidelines
          Sentence.

       We respectfully suggest that a non-Guidelines sentence is sufficient but not greater than

necessary to achieve the goals of § 3553(a)(2). We similarly submit that it is sufficient to

provide both a general and specific deterrent to future criminal conduct.

       With respect to Pisani’s own future conduct, his history since 2013 is powerful evidence

that he is not likely to find himself in trouble of this sort ever again. Since 2013, he has engaged



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in positive, productive conduct. Prior to his arrest in the instant case, he operated numerous

businesses in which he employed a great number of individuals and provided valuable service to

his community. Since his arrest, he has remained committed to his business, working many

hours each day from home and in his business location when he has been permitted.

       As Pretrial Services reported to the Court, Pisani has faithfully abided by the conditions

of his release. Initially, Pisani was released subject to home confinement with permission to

leave his home for employment and other specified reasons. As the result of his May 4, 2017

arrest on unrelated state charges, however, after initially seeking revocation of bail, the

government entered into a stipulation with Pisani pursuant to which he was to remain on bail

subject to strict home confinement.3

       After seven months on strict home confinement without incident, and following his plea

of guilty in the instant matter, with the consent of the government, the Court granted permission

for Pisani to leave his home to attended to his business for several hours multiple times per week,

exercise at a gym a few days per week, and attend a variety of family events, such as school and

sporting activities in which his two children are engaged.4 In the seven months that have elapsed

in which Pisani has been allowed increased freedom, he has consistently honored the conditions

of his release, further demonstrating his commitment to a law-abiding path.

       It is, therefore, respectfully submitted that Pisani’s conduct while on bail demonstrates

that the public is not in danger of him committing future crimes.




3
 Trial of the New York State action is scheduled to commence on June 14, 2018 and we will
apprise the Court of the result.
4
  Pisani recognizes that the government’s consent to the modification of his conditions of release
is not inconsistent with the government’s request for a sentence of incarceration.


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       The government claims that Pisani’s prior non-incarceratory sentences evidence the need

for a stronger deterrent to future criminal conduct. Gov. Sent. Ltr. at 6. The government,

however, ignores that Pisani’s prior convictions occurred between 17 and 20 years ago when

Pisani was unmarried, without children, and a relatively young man still in his twenties. By

contrast, Pisani is now 45 years old, and he has a wife and two young children who are the

driving motivators in his life.

       In addition, as set forth in Pisani’s objections to the PSR, Pisani disputes the allegations

in the charging instruments that form the basis of his prior convictions. In particular, Pisani

maintains that he never discharged a firearm and that he did not use a knife to cut anyone. PSR

Obj. Ltr. at 6. It is, therefore, submitted that the offenses of which Pisani was convicted many

years ago should have little bearing on the Court’s decision in the instant matter.

       We respectfully suggest that the additional factors enumerated in § 3553(a) do not justify

a different conclusion. Pisani is not in need of “educational or vocational training, medical care,

or other correctional treatment . . . .” 18 U.S.C. § 3553(a)(2)(D). Additionally, a non-Guidelines

sentence will not create any unwarranted sentencing disparities.

       Thus, for all of the above-stated reasons, we submit that a non-Guidelines sentence is

sufficient but not greater than necessary to achieve the statutory mandate.




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                                          Conclusion

       For the foregoing reasons, we respectfully request that the Court impose a non-

Guidelines sentence.

Dated: New York, New York
       June 13, 2018

                                                                  Respectfully Submitted,

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